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Fill in this information to identify the case:

Debtor name         C-4 Construction, LLC

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF MISSISSIPPI

Case number (if known)    22-11944-JDW
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $743,200.00
      From 1/01/2022 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $4,415,036.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other


      For year before that:                                                            Operating a business                              $1,537,553.00
      From 1/01/2020 to 12/31/2020
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.1.
             Delta Fuel                                       5/24/2022                        $10,000.00          Secured debt
                                                                                                                   Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.2.
             H & H Landscaping                                7/14/2022                        $11,432.66          Secured debt
                                                                                                                   Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other   Equipment Rental

      3.3.
             Elite Concrete Solution                          7/27/2022                        $76,873.00          Secured debt
                                                                                                                   Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.4.
             NunelyTrucking                                   8/1/2022                           $9,600.00         Secured debt
                                                                                                                   Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.5.
             Jose Lius Covarruvias                            Various                          $35,350.00          Secured debt
                                                              dates in                                             Unsecured loan repayments
                                                              July/August                                          Suppliers or vendors
                                                              2022
                                                                                                                   Services
                                                                                                                   Other

      3.6.
             Killebrew Insurance                              6/13/2022                        $12,830.32          Secured debt
             2531 Roper Street                                                                                     Unsecured loan repayments
             Odessa, TX 79761                                                                                      Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other GL/Workers' Comp
                                                                                                                  Insurance

      3.7.
             Speed Williams                                   7/11/2022                        $25,000.00          Secured debt
                                                                                                                   Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.8.
             Pates Hardware                                   8/3/2022                         $23,491.36          Secured debt
                                                                                                                   Unsecured loan repayments
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other


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      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.9.
             Texas Plumbing                                        7/20/2022                          $8,000.00           Secured debt
                                                                                                                          Unsecured loan repayments
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other

      3.10
      .    McCoys Building Supply                                  Various                          $33,707.47            Secured debt
                                                                   dates in July                                          Unsecured loan repayments
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Richard Cowan                                         Various                          $23,340.71           Reimbursements for expenses
             346 Sand Road                                                                                               on jobs charged to personal
             Lamar, MS 38642                                                                                             credit card
             Father

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address




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             Case title                               Nature of case               Court or agency's name and            Status of case
             Case number                                                           address
      7.1.   Cisco Equipment Rentals,                                              70th District Court of Ector               Pending
             LLC v. C-4 Construction, LLC                                          Co., TX                                On appeal
             A-21-08-0836-CV                                                       300 N. Grant
                                                                                                                          Concluded
                                                                                   Room 316
                                                                                   Odessa, TX 79761

      7.2.   Holloman Corporation v. C-4              Collection                   USDC - Northern District of                Pending
             Construction, LLC                                                     Mississippi                            On appeal
             3:21-cv-214-MPM-RP                                                    Federal Building ROom 369
                                                                                                                          Concluded
                                                                                   911 Jackson Avenue East
                                                                                   Oxford, MS 38655

      7.3.   Pipeline & Utility Rental                Collection                   Rankin County Circuit                      Pending
             Equipment, LLC d/b/a Perco                                            Court                                  On appeal
             Rentals v. C-4 Construction,                                          301 E Government Street
                                                                                                                          Concluded
             LLC                                                                   Brandon, MS 39042
             2021-1548

      7.4.   Cowin Equipment v. C-4                   Collection                   Jefferson County, AL                       Pending
             Construction, LLC                                                     Circuit Court                          On appeal
             01-cv-2022-901609.00                                                  716 Richard Arrington, Jr.
                                                                                                                          Concluded
                                                                                   Blvd. N.
                                                                                   Birmingham, AL 35203


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value

      9.1.   Slayden Baptist Church                   Monetary Donation
             2534 Highway 72                                                                                    April 2021 -
             Lamar, MS 38642                                                                                    March 2022                    $15,000.00

             Recipients relationship to debtor




Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                           lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).


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Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Law Offices of Craig M. Geno,
               PLLC
               587 Highland Colony Parkway                                                                             July 18,
               Ridgeland, MS 39157                       Attorney Fees                                                 2022                       $3,800.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value
      13.1 Cash Sale                                                                                             November
      .                                                2011 Ford F-250                                           2021                             $6,500.00

              Relationship to debtor



      13.2 Cash Sale
      .                                                Enclosed Tool Trailer                                     June 2022                        $8,000.00

              Relationship to debtor



      13.3 Heavy Iron/Justin Miller
      .                                                2 Caterpillar 621 Scrapers                                6/25/2021                      $20,000.00

              Relationship to debtor




 Part 7:      Previous Locations


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14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


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      None
      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Anita Cowan                                                                                                     Various
                    346 Sand Road
                    Lamar, MS 38642
      26a.2.        Joe Banker, CPA                                                                                                 Various
                    1906 Exeter Road
                    Germantown, TN 38138

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Anita Cowan                                                                                                     Various
                    346 Sand Road
                    Lamar, MS 38642
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.2.        Joe Banker, CPA                                                                                                 Various
                    1906 Exeter Road
                    Germantown, TN 38138

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Anita Cowan
                    346 Sand Road
                    Lamar, MS 38642
      26c.2.        Joe Banker, CPA
                    1906 Exeter Road
                    Germantown, TN 38138

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.  U.S. Small Business Administration
                    BA Disaster Loan Service Center
                    2 North 20th Street
                    Suite 320
                    Birmingham, AL 35203

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.

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             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Justin Cowan                           466 Sand Road                                       Member/President/CEO                    100%
                                             Lamar, MS 38642



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Traci Cowan                            466 Sand Road                                       50% Member                         2002 - October
                                             Lamar, MS 38642                                                                        2021


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Justin Cowan
      .    466 Sand Road                                                                                        8/10/2021 -
             Lamar, MS 38642                          $253,905                                                  8/10/2022           Member Draws

             Relationship to debtor
             Member/President/CEO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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